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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  AIDS VACCINE ADVOCACY
  COALITION, et al.,

                 Plaintiffs,
                                                        Civil Action No. 25-00400 (AHA)
         v.

  UNITED STATES DEPARTMENT OF
  STATE, et al.,

                 Defendants.


  GLOBAL HEALTH COUNCIL, et al.,

                 Plaintiffs,
                                                        Civil Action No. 25-00402 (AHA)
         v.

  DONALD J. TRUMP, et al.,

                 Defendants.

                           DEFENDANTS’ NOTICE OF APPEAL

       All Defendants hereby appeal to the United States Court of Appeals for the District of

Columbia Circuit from the Memorandum Opinion and Order (No. 25-cv-400, Doc. 60; No. 25-cv-

402, Doc. 60) issued on March 10, 2025, and from all orders antecedent to such order and opinion

and thus incorporated therein.




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Dated: April 1, 2025               Respectfully submitted,

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